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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                         CASE NO. 22-80285-CIV-CANNON/Reinhart

  TARA DUNCAN,

         Plaintiff,
  v.

  NCS PEARSON, INC. et al.,

        Defendants.
  _____________________________________/

                ORDER REQUIRING COMBINED RESPONSES AND
          DENYING WITHOUT PREJUDICE MOTION TO DISMISS [ECF No. 38]

         THIS CAUSE comes before the Court upon a sua sponte review of the record. To better

  manage the orderly progress of the case, it is hereby ORDERED that no Defendant shall file a

  response or answer until all Defendants in this action have been served with Plaintiff’s Third

  Amended Complaint [ECF No. 37]. After all Defendants have been served, Defendants shall

  submit a single combined response or separate answers within the time allowed for the last-served

  Defendant to respond. All filings in this case must be prepared using 12-point Times New

  Roman font that is double-spaced and fully justified. Accordingly, it is hereby

         ORDERED and ADJUDGED that Defendant NCS Pearson, Inc’s Motion to Dismiss

  Plaintiff’s Third Amended Complaint [ECF No. 38] is DENIED WITHOUT PREJUDICE to

  allow all Defendants to be served with the Third Amended Complaint [ECF No. 37] in compliance

  with this Order.
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                                           CASE NO. 22-80285-CIV-CANNON/Reinhart


        DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 7th day of

  November 2022.




                                            _________________________________
                                            AILEEN M. CANNON
                                            UNITED STATES DISTRICT JUDGE

  cc:   counsel of record




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